                                                                           -#S#'',''
                  IN THE UNITED STATES DISTRICT COURT                      AUG, 2   5 2017
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                            DOCKET NO. 1:l7CR62-3

T]NITED STATES OF AMERICA
                                                 CONSENT ORDER A}[D
             V.                                JUDGMENT OF FORFEITURE

TABITHA RENEE TALBERT


       WHEREAS, the defendant, TABITHA RENEE TALBERT, has entered into
a plea agreement (incorporated by reference herein) with the United States and has
voluntarily pleaded guilty pursuant to Fed. R. Crim. P. 11 to one or more criminal
offenses under which forfeiture may be ordered;

       WHEREAS, the defendant and the United States stipulate and agree that the
property described below constitutes property derived from or traceable to proceeds
of the defendant's offense(s) herein; property involved in the offenses, or any
property traceable to such property; and/or property used in any manner to facilitate
the commission of such offense(s); or substitute property as defined by 2l U.S.C. $
853(p) and Fed. R. Crim. P.32.2(e); and is therefore subject to forfeiture pursuant
to 18 U.S.C. $ 982, 18 U.S.C. $ 1029, 18 U.S.C. 5 924(d), and/or 28 U.S.C. $
2461(c), provided, however, that such forfeiture is subject to any and all third party
claims and interests, pending final adjudication herein; the defendant waives his
interest, if any, in the property and agrees to the forfeiture of such interest;

      WHEREAS, the defendant herein waives the requirements of Fed. R. Crim.
P.32.2 regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

       WHEREAS, pursuant to Fed. R. Crim. P.32.2(b)(1) & (c)(2), the Court finds
that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty;




    Case 1:17-cr-00062-MR-WCM        Document 55     Filed 08/25/17   Page 1 of 5
Case 1:17-cr-00062-MR-WCM   Document 55   Filed 08/25/17   Page 2 of 5
       WHEREAS, the defendant withdraws any claim previously submitted in
response to an administrative forfeiture or civil forfeiture proceeding concerning any
of the property described below. If the defendant has not previously submitted such
a claim, the defendant hereby waives all right to do so. If any administrative
forfeiture or civil forfeiture proceeding concerning any of the property described
below has previously been stayed, the defendant hereby consents to a lifting ofthe
stay and consents to forfeirure:

       WHEREAS, the undersigned United States Magistrate Judge is authorized to
enter this Order by the previous Order of this Court No. 3:05MC302-C (September
8, 2005);

     NOW, THEREFORE, IT IS HEREBY ORDERED THAT the following
property is forfeited to the United States:

            . Approximately I 11 magnetic-stripe credit cards;
            o Two magnetic-stripe card readers/writersl
            o One Dell laptop computer, serial number JS6R1A1;
            o One Toshiba laptop computer, serial number 2D04042C;
            . One HP laptop computer, serial number 2CE240IYH5;
            o One Gateway desktop computer, serial number 32503228430;
            o One HP desktop computer, serial number 3CR13403H3;
            o One Uniden tablet computer;
            r One Asus laptop computer, serial number DAN08C004797404;
            . One Asus laptop computer, serial number DAN0BC084790l7E;
            o One Smith & Wesson 9mm pistol, serial number
              DEBBAG4793PPS;
            r One Beretta Nano 9mm pistol, serial number N0076145; and
            o One Bersa Ultra .45 caliber pistol, serial number C40341.
      The United States Marshal and/or other property custodian for the
investigative agency is authorized to take possession and maintain custody of the
above-described tangible property.




                                          2




    Case 1:17-cr-00062-MR-WCM        Document 55     Filed 08/25/17   Page 3 of 5
      If and to the extent required by Fed. R. Crim. P. 322b)6),21 U.S.C. S
853(n), and/or other applicable law, the United States shall publish notice and
provide direct written notice of this forfeiture.

      As to any firearms and/or ammunition listed above and/or in the charging
instrument, defendant consents to disposal by federal, state, or local 1aw enforcement
authorities upon such legal process as they, in their sole discretion, deem to be
legally sufficient, and waives any and all right to further notice of such process or
such destruction.

      Any person, other than the defendant, asserting any legal interest in the
property may, within thirty days of the publication of notice or the receipt of notice,
whichever is earlier, petition the court for a hearing to adjudicate the validity ofthe
alleged interest.

      Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this Order of Forfeiture,
the United States Attomey's Office is authorized to conduct any discovery needed
to identify, locate or dispose ofthe property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Fed. R.
Civ. P. 45.

       Following the Court's disposition of all timely petitions filed, a final order of
forfeiture shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2). If no third
party frles a timely petition, this order shall become the final order and judgment of
forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United States shall
have clear title to the property and shall dispose ofthe property according to law.
Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), the defendant consents that this order
shall be final as to defendant upon filing.




                                           3




    Case 1:17-cr-00062-MR-WCM        Document 55      Filed 08/25/17   Page 4 of 5
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         SO AGREED:




    vi RrofxARD LEE EDWARDS
    '' Assistant United States Attorney


         TABITHA RENEE TALBERT
         Defendant




         Attorney for Defendant



                                               Signed:   4.,..,*      ]s , 2017


                                              DENNIS L. HOWELL
                                              United States Magistrate Judge
                                              Western District of North Carolina




                                              4




            Case 1:17-cr-00062-MR-WCM     Document 55     Filed 08/25/17   Page 5 of 5
